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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff,
Vv. Case No. 18-cr-20794

Honorable Linda V. Parker

MICHAEL LEE JOHNSON,

Defendant.

/
VERDICT FORM

As to Count 1 of the First Superseding Indictment, Unlawful Imprisonment,
we, the jury by unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty
XK. Guilty
As to Count 2 of the First Superseding Indictment, Assault of an Intimate or
Dating Partner by Strangulation or Attempted Strangulation, we, the jury by

unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty

X Guilty

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As to Count 3 of the First Superseding Indictment, Assault of an Intimate or
Dating Partner by Suffocation or Attempted Suffocation, we, the jury by
unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty

x Guilty

As to Count 4 of the First Superseding Indictment, Interstate Domestic
Violence, we, the jury by unanimous verdict, find Defendant Michael Lee Johnson:

___—srNot Guilty

X Guilty

As to Count 5 of the First Superseding Indictment, Witness Tampering, we,
. the jury by unanimous verdict, find Defendant Michael Lee Johnson:

___—CNot Guilty
h ™ Guilty

As to Count 6 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

__—C Not Guilty

XL Guilty

As to Count 7 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty

Y Guilty

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As to Count 8 of the First Superseding Indictment, Assault by Striking,
Beating, or Wounding, we, the jury by unanimous verdict, find Defendant Michael
Lee Johnson:

As to Count 9 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty

x Guilty

As to Count 10 of the First Superseding Indictment, Witness Tampering, we
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

>

Not Guilty
f
x Guilty

As to Count 11 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

KX Not Guilty
Guilty

As to Count 12 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

Not Guilty

XX Guilty

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As to Count 13 of the First Superseding Indictment, Witness Tampering, we,
the jury by unanimous verdict, find Defendant Michael Lee Johnson:

< Not Guilty

Guilty
s/Jury Foreperson
fm In compliance with the Privacy Policy adopted b
LZ, J, (3032 of the Judicial Conference, the verdict form with yo
D ATED the original signature has been filed under seal.

vv yy -——— -_ ——~ -_—

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